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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE


EVANSTON INSURANCE               :
COMPANY,                         :
                                 :       CIVIL ACTION NO.:
                                 :       1:20-CV-01685-CFC
                      Plaintiff, :
       vs.                       :       Electronically Filed
                                 :
SEA LIGHT DESIGN-BUILD, LLC,     :
                                 :
                                 :
                     Defendant. :




PLAINTIFF EVANSTON INSURANCE COMPANY’S BRIEF IN SUPPORT
      OF ITS MOTION FOR JUDGMENT ON THE PLEADINGS



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      Plaintiff, Evanston Insurance Company (“Evanston”), by and through its

undersigned counsel, respectfully submits this Brief in support of its Motion for

Judgment on the Pleadings pursuant to Fed. R. Civ. P. 12(c).



 STATEMENT OF THE NATURE AND STAGE OF THE PROCEEDINGS

      This is an insurance coverage declaratory judgment action brought by

Evanston wherein it seeks a declaration that it has no obligation to defend or

indemnify Defendant, Sea Light Design-Builder, LLC (“Sea Light”), in connection

with an underlying bodily injury lawsuit brought against Sea Light by a laborer

who alleges that he was injured while working on a construction jobsite where Sea

Light was the general contractor.     Sea Light filed its Answer to Evanston’s

Complaint and the pleadings are now closed. No trial date has been scheduled.



                        SUMMARY OF ARGUMENT

      1. The claims brought against Sea Light arise out of a construction jobsite

accident (the “Project”) causing bodily injury to a laborer, which are clearly and

unambiguously excluded by the insurance policy issued by Evanston to Sea Light.

The Evanston Policy excludes coverage for bodily injury to contractors,

subcontractors, employees, volunteer workers, leased workers or temporary

workers of contractors and subcontractors, and any other person who performs


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labor in any capacity for Sea Light, its contractors or subcontractors. According to

the Underlying Complaint, Underlying Plaintiff, Mr. Aparicio-Munoz, was

working as a laborer on the Project where Sea Light was the general contractor.

This is precisely the type of bodily injury that is fully precluded from coverage by

the Evanston Policy. Delaware courts have excluded coverage for bodily injury

claims such as the claims at issue here on the basis of the application of a similar

clear and unambiguous exclusion. See Masonic Home of Delaware, Inc. v. Certain

Underwriters at Lloyd's London, 2013 WL 3006909, at *7 (Del. Super. Ct. May

22, 2013), aff'd, 80 A.3d 960 (Del. 2013).



                      CONCISE STATEMENT OF FACTS

    A.     The Underlying Complaint

         On July 17, 2020, Julio Aparicio-Munoz (“Aparicio-Munoz”) and Dora Luz

Valenzuela Hernandez (“Hernandez”) (collectively “Underlying Plaintiffs”), filed a

Complaint styled Julio C. Aparicio-Munoz and Dora Luz Valenzuela Hernandez v.

Sea Light Design-Build, LLC, C.A. No.: N20C-07-170 MMJ, in the Superior Court

of Delaware1 (“Underlying Complaint”). (Underlying Complaint, D.I. 1-1.)



1
 Julio C. Aparicio-Munoz and Dora Luz Valenzuela Hernandez v. Sea Light
Design-Build, LLC, C.A. No.: N20C-07-170 MMJ, in the Superior Court of
Delaware shall be referred to as the “Underlying Action”.

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         Underlying Plaintiffs allege that on November 13, 2019, Aparicio-Munoz

“was working as a laborer on a residential construction renovation/remodeling

project at the Cotton Patch Hills development located at 29641 South Dune Way,

Bethany Beach, Delaware 19930” where Sea Light “was responsible for the

construction,      development,      and       management     of    the    aforesaid

renovation/remodeling project.” (Id. at ⁋⁋ 3, 4.) Underlying Plaintiffs allege that

Aparicio-Munoz was “performing his duties as a laborer installing window frames

on the residence … [when] he fell approximately 25 feet from an elevated ‘box

lift’ to the ground.” (Id. at ⁋5.)

         Underlying Plaintiffs allege that the construction site where Aparicio-Munoz

fell was “managed, maintained, supervised, and/or under the control of [Sea

Light]…” and that “the ‘box lift’ which [Aparicio-Munoz] was in at the time of the

accident was assembled by [Sea Light]”. (Id. at ⁋⁋ 7, 8.) Underlying Plaintiffs

allege that Aparicio-Munoz’s injuries were the result of the negligent, careless

and/or reckless conduct of Sea Light. (Id. at ⁋10.)

    B.      Other Relevant Facts In The Pleadings

         Sea Light was the general contractor at the Project. (Complaint, D.I. 1, ⁋9,

Answer, D.I. 6, at ⁋9.)        Sea Light asserts, in its Affirmative Defenses 2 to


2
 Sea Light did not assert any counterclaims against Evanston. It asserts, however,
by way of its Affirmative Defenses, a legally and factually unsupported claim of

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Evanston’s Complaint, that “there remains a question of fact in the Underlying

Action… as to whether Mr. Aparicio-Munoz and/or his employer or company was

an independent contractor”. (Answer, D.I. 6, page 7.)

   C.      The Evanston Policy

        Evanston issued a commercial general liability insurance policy, Policy No.

3AA324879, effective from February 19, 2019 to February 19, 2020, to Sea Light

(the “Evanston Policy”). (D.I. 1-2.) The Evanston Policy contains an Exclusion –

Employer’s Liability and Bodily Injury to Contractors or Subcontractors

endorsement (“Employer’s Liability and Bodily Injury to Contractor Exclusion”),

which provides, in relevant part, as follows:

           EXCLUSION – EMPLOYER’S LIABILITY AND
     BODILY INJURY TO CONTRACTORS OR SUBCONTRACTORS

   This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
   OWNERS   AND   CONTRACTORS     PROTECTIVE  LIABILITY
   COVERAGE FORM




bad faith in response to Evanston’s request for a declaration of no duty to defend or
indemnify Sea Light with respect to the Underlying Action. (Answer, D.I. 6, Ninth
Affirmative Defense, Seventeenth Affirmative Defense.) To the extent that Sea
Light’s affirmative defenses are considered to be a claim against Evanston, it
should be dismissed on the grounds that where there is no duty to defend or
indemnify, there can be no claim for bad faith. Especially where, as here,
Evanston is defending Sea Light pursuant to a full reservation of rights.

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  A. The Employer’s Liability exclusion under Bodily Injury and Property
     Damage Liability is replaced by the following:
     This insurance does not apply to:
     Employer’s Liability
     “Bodily injury” to:
     (1) An “employee”, “volunteer worker” or “temporary worker” of the
         insured arising out of and in the course of:
         (a) Employment by the insured; or
        (b) Performing duties related to the conduct of the insured’s business;
     (2) Any other person who performs labor in any capacity for or on behalf
         of any insured, with or without any form of compensation; or
     (3) The spouse, partner… or any other relative of any person described in
         Paragraph (1) or (2) above as a consequence of Paragraph (1) or (2)
         above.
     This exclusion applies whether the insured may be liable as an employer
     or in any other capacity and to any obligation to share damages with or
     repay someone else who must pay damages because of the injury.


                                          ***

  B. The following exclusion is added to Bodily Injury and Property Damage
     Liability:
     This insurance does not apply to:
     Bodily Injury To Contractors Or Subcontractors
     “Bodily Injury” to any:
     (1) Contractors or subcontractor while working on behalf of any insured;
     (2) Employee, volunteer worker, leased worker or temporary worker of such
         contractor or subcontractor indicated in Paragraph (1) above;
     (3) Additional subcontractor, including the employees, volunteer workers,
         leased workers or temporary workers of such contractor or subcontractor
         indicated in Paragraph (1) above; or




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      (4) Any other person who performs labor in any capacity for or on behalf of
          any person indicated in Paragraph (1), (2) or (3) above, with or without
          any form of compensation.
      This exclusion applies:
          (a) Even if the claim against any insured alleges negligence or other
              wrongdoing in the:
             (i)     Selection, hiring or contracting;
             (ii)    Investigation;
             (iii)   Supervision or monitoring;
             (iv)    Training; or
             (v)     Retention
          (b) Whether the insured may be liable as an employer or in any other
              capacity;
          (c) To any obligation to share damages with or repay someone else who
              must pay damages because of the injury; and
                                          ***
(D.I. 1-2, 60-61.)

 The Evanston Policy contains the following relevant definitions:

   SECTION V – DEFINITIONS
                                        ***
   5. “Employee” includes a “leased worker”. “Employee” does not include a
      “temporary worker”.
                                        ***
   10.“Leased worker” means a person leased to you by a labor leasing firm
      under an agreement between you and the labor leasing firm, to perform
      duties related to the conduct of your business. “Leased worker” does not
      include a “temporary worker”.
                                        ***
   19.“Temporary worker” means a person who is furnished to you to
      substitute for a permanent “employee on leave or to meet seasonal or
      short-term workload conditions”.


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   20.“Volunteer worker” means a person who is not your “employee”, and
      who donates his or her work and acts at the direction of an within the
      scope of duties determined by you, and is not paid a fee, salary or other
      compensation by you or anyone else for their work performed for you.

(D.I. 1-2, 32-35.)

   D.        Sea Light’s Tender of the Underlying Action to Evanston

        Sea Light sought coverage from Evanston for the Underlying Action on

October 19, 2020. (Complaint, D.I. 1, ⁋15.) Evanston agreed to defend Sea Light

pursuant to a full and complete reservation of rights, expressly reserving its rights,

inter alia, to disclaim coverage based on the Employer’s Liability exclusion and

the Bodily Injury to Contractors or Subcontractors exclusion, and to bring a

declaratory judgment action to determine its obligation under the Evanston Policy.

(See letter dated October 21, 2020, Exhibit C to the Complaint, D.I. 1-3.)



                                   ARGUMENT

        I.     STANDARD OF REVIEW

        Federal Rule of Civil Procedure 12(c) provides that “after the pleadings are

closed—but early enough not to delay trial—a party may move for judgment on

the pleadings.” This motion is timely as pleadings are now closed and no trial has




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been scheduled. 3 "The purpose of judgment on the pleadings is to dispose of

claims where the material facts are undisputed and judgment can be entered on the

competing pleadings and exhibits thereto, and documents incorporated by

reference." Purdue Pharma L.P. v. Collegium NF, LLC, 2019 WL 2525399, at *3

(D. Del. June 19, 2019), citing Int 'l Bus. Machines Corp. v. Groupon, Inc., 289 F.

Supp. 3d 596, 600 (D. Del. 2017). "A motion for judgment on the pleadings

should be granted if the movant establishes that there are no material issues of fact,

and [the movant] is entitled to judgment as a matter of law."              Id., citing

Zimmerman v. Corbett, 873 F.3d 414, 417 (3d Cir. 2017).

      This case involves interpretation of an insurance policy, which is a question

of law. O'Brien v. Progressive N. Ins. Co., 785 A.2d 281, 286 (Del. 2001). “As

with all contracts, insurance policies are interpreted to give effect to their plain

language… Clear and unambiguous language in an insurance policy should be

given its ordinary and usual meaning…” Am. Legacy Found., RP v. Nat'l Union

Fire Ins. Co. of Pittsburgh, PA, 623 F.3d 135, 139 (3d Cir. 2010).

      … where the language of a policy is clear and unequivocal, the parties
      are to be bound by its plain meaning. … The Delaware courts should
      not “destroy or twist policy language under the guise of construing it.”
      “[C]reating an ambiguity where none exists could, in effect, create a
      new contract with rights, liabilities and duties to which the parties had
3
  On December 11, 2020, Evanston filed this Declaratory Judgment action against
Sea Light. (D.I. 1.) On February 26, 2021, Sea Light filed its Answer (D.I. 6) and
the pleadings are now closed.

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      not assented.” In construing insurance contracts, we have held that an
      ambiguity does not exist where the court can determine the meaning
      of a contract “without any other guide than a knowledge of the simple
      facts on which, from the nature of language in general, its meaning
      depends.” Indeed, we will not torture policy terms to create an
      ambiguity where an ordinary reading leaves no room for uncertainty.

      This Court has further stated that an insurance contract is not
      ambiguous simply because the parties do not agree on the proper
      construction. Instead, a contract is only ambiguous when the
      provisions in controversy are reasonably or fairly susceptible to
      different interpretations or may have two or more different meanings.

O'Brien v. Progressive N. Ins. Co., 785 A.2d 281, 288 (Del. 2001) (internal

citations omitted); IDT Corp. v. U.S. Specialty Ins. Co., 2019 WL 413692, at *7

(Del. Super. Jan. 31, 2019).

 For the reasons that follow, there simply is no coverage available under the clear

and unambiguous Evanston Policy for the Underlying Action.




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II.   EVANSTON HAS NO OBLIGATION TO DEFEND OR INDEMNIFY
      SEA LIGHT BECAUSE THE UNDERLYING ACTION ARISES OUT
      OF INJURY TO A LABORER PERFORMING WORK ON BEHALF
      OF SEA LIGHT WHICH IS FULLY EXCLUDED FROM
      COVERAGE

      A review of the Evanston Policy and the Underlying Complaint reveals that

there is no possibility of coverage for the Underlying Action. The Evanston Policy

contains an Employer’s Liability and Bodily Injury to Contractors Exclusion. The

claims alleged in the Underlying Complaint fall squarely within the terms of the

exclusion because, at the time of his accident, Aparicio-Munoz was working as a

laborer on a residential construction renovation/remodeling project where Sea

Light, the general contractor, was responsible for the construction, development

and management of the project. This exclusion applies regardless of whether

Aparicio-Munoz was an independent contractor.

      The Court generally will review only the underlying complaint and the

insurance policy in its determination of the insurer’s duty to defend. Blue Hen

Mech., Inc. v. Atl. States Ins. Co., 2011 WL 1598575, at *2 (Del. Super. Ct. Apr.

21, 2011), aff'd, 29 A.3d 245 (Del. 2011).

      The duty to defend arises where the insured can show that the
      underlying complaint, read as a whole, alleges a risk potentially
      within the coverage of the policy. … The complaint must allege some
      grounds for liability on the part of the insured, based upon a risk
      covered by the policy, for the duty to defend to arise. The Court is not
      bound by the narrow language in a complaint filed against an insured.
      The Court may review the complaint as a whole, considering all
      reasonable inferences that may be drawn from the alleged facts. An

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         examination of the complaint is not limited to the plaintiff's unilateral
         characterization of the nature of the claims.

Id.

         The Evanston Policy’s Employer’s Liability and Bodily Injury to

Contractors Exclusion provides, in relevant part, as follows:

      This insurance does not apply to:
         Employer’s Liability
         “Bodily injury” to:
         (4) An “employee”, “volunteer worker” or “temporary worker” of the
             insured arising out of and in the course of:
            (a) Employment by the insured; or
            (b) Performing duties related to the conduct of the insured’s business;
         (5) Any other person who performs labor in any capacity for or on behalf
             of any insured, with or without any form of compensation; or
         (6) The spouse, partner… or any other relative of any person described in
             Paragraph (1) or (2) above as a consequence of Paragraph (1) or (2)
             above.
         This exclusion applies whether the insured may be liable as an employer
         or in any other capacity and to any obligation to share damages with or
         repay someone else who must pay damages because of the injury.


                                                ***
      Bodily Injury To Contractors Or Subcontractors
        “Bodily Injury” to any:
         (1) Contractors or subcontractor while working on behalf of any insured;
         (2) Employee, volunteer worker, leased worker or temporary worker of
             such contractor or subcontractor indicated in Paragraph (1) above;
         (3) Additional subcontractor, including the employees, volunteer workers,
             leased workers or temporary workers of such contractor or
             subcontractor indicated in Paragraph (1) above; or

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      (4) Any other person who performs labor in any capacity for or on behalf
          of any person indicated in Paragraph (1), (2) or (3) above, with or
          without any form of compensation.
      This exclusion applies:
          (a) Even if the claim against any insured alleges negligence or other
              wrongdoing in the:
             (i)     Selection, hiring or contracting;
             (ii)    Investigation;
             (iii)   Supervision or monitoring;
             (iv)    Training; or
             (v)     Retention
          (b) Whether the insured may be liable as an employer or in any other
              capacity;
          (c) To any obligation to share damages with or repay someone else
              who must pay damages because of the injury; and
                                          ***

(D.I. 1-2, 60-61.)

      With respect to the policy language at issue, courts in Delaware and the

Third Circuit have examined this exclusion and substantially similar exclusions

and have found them to be unambiguous and enforceable. See e.g., Masonic Home

of Delaware, Inc. v. Certain Underwriters at Lloyd's London, 80 A.3d 960 (Del.

2013); Brown & Root Braun v. Bogan Inc., 54 Fed. Appx. 542 (3d Cir. 2002)

(holding that the contractor exclusion applied to bodily injury claims alleged by

either the named or additional insured's employees regardless of which insured

party sought coverage); Evanston Ins. Co. v. M & M Gen. Carpentry, LLC, 2020


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WL 3969909, at *3 (D.N.J. July 14, 2020)(enforcing the exclusion where the

bodily injury claim was alleged by an employee of the insured’s subcontractor).

      Masonic Home involved a declaratory judgment filed by an insured nursing

home wherein the insured claimed that coverage was owed to it for the underlying

negligence suit. Masonic Home, 80 A.3d 960, *1 The underlying action involved

an employee of an independent contractor retained by the insured to prepare and

serve food. Id. The employee allegedly slipped and fell, suffered injuries, and,

thereafter, claimed the insured was negligent. Masonic Home of Delaware, Inc. v.

Certain Underwriters at Lloyd's London, 2013 WL 3006909, at *3 (Del. Super. Ct.

May 22, 2013), aff'd, 80 A.3d 960 (Del. 2013). The policy at issue contained an

exclusion to the insurer’s duty to defend for an injury to an insured’s employee or

an independent contractor arising out of duties related to the insured’s business.

Masonic Home, 80 A.3d 960, *2. The Delaware Supreme Court rejected the

insured’s argument that the exclusion only applied to preclude coverage for

injuries to the independent contractor but not the employees of the independent

contractor doing work for the benefit of the insured. Id.

      In its opinion (which was affirmed on appeal), the trial court described the

insured’s argument as “illogical,” explaining:

      There is no reason that the exclusion should apply to a claim for harm
      to a subcontractor and not one for harm to an employee of a contractor,
      all other things being equal. Further, a corporate independent
      contractor, like Unidine, can act only through its officers, employees,

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      and other workers. An employee of a corporate independent
      contractor is thus either part and parcel of its employer or is an
      independent contractor with regard to its employers' counterparty.

Masonic Home, 2013 WL 3006909, at *6.

      On appeal, the Delaware Supreme Court held that the only reasonable

interpretation of the exclusion is that it applies to claims for harm to an employee

of an independent contractor working for the insured nursing home. Masonic

Home, 80 A.3d 960, *2. The Court found the insured’s interpretation was contrary

to the plain language of the exclusion. Id. Consequently, the court found that the

insurer did not have a duty to defend or indemnify the insured. Id.

      State and federal courts also routinely enforce exclusions such as, or

substantially similar to, the Employer’s Liability and Bodily Injury to Contractors

Exclusion contained in the Evanston Policy. See e.g., Essex Ins. Co. v. RHO

Chem. Co., 145 F. Supp. 3d 780 (N.D. Ill. 2015) (recognizing an oral contract

between the contractor and subcontractor and holding that the exclusion in the

Essex policy precluded coverage for injuries to subcontractor's employee); Essex

Ins. Co. v. Clark, 2010 WL 3911424, at *5 (N.D. Tex. Oct. 5, 2010) (holding that

exclusion unambiguously precluded coverage for bodily injuries to an employee or

independent contractor of the insured); Evanston Ins. Co. v. Alden Roofing Co.,

LLC, 2017 WL 2335517, at *5 (N.D. Tex. May 30, 2017) (holding that the

identical Employer’s Liability and Bodily Injury to Contractors exclusion was


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clear and unambiguous to exclude coverage); Essex Ins. Co. v. Stone, 2010 WL

330328, at *2 (E.D. Mo. Jan. 21, 2010) (holding that the clear, unambiguous

language of the exclusion barred coverage for the injuries sustained by the

insured's contractor; rejecting as immaterial the argument that the insured was

liable based on a theory of premises liability); Essex Ins. Co. v. Bickford & Sons,

L.P., 2007 WL 2903850, at *4 (S.D. Tex. Oct. 2, 2007) (finding that regardless of

whether the injured worker was employed by the contractor or the subcontractor,

the exclusion precluded coverage); Essex Ins. Co. v. Mondone, 106 A.D.3d 1045

(N.Y. App. Div. 2013) (holding Essex had no obligations under the unambiguous

language of the subcontractor policy exclusion and that exclusion applied where

the injured party was another contractor at the jobsite); Essex Ins. Co. v. G-1, Inc.,

2012 WL 1230593 (N.Y.Sup.) (regardless of whether the underlying plaintiff was

hired by the insured or the insured's subcontractor, the policy exclusion barred

coverage); Essex Ins. Co. v. Bossart Builders Inc., 2010 WL 1975319 (N.Y.Sup.)

(reasoning that the use of the word "any" to describe employees clearly did not

limit the scope of the exclusion to only those employed by a contractor or

subcontractor); Gomez v. Nicolia, 2008 WL 4370053 (N.Y.Sup.) (holding that

bodily injury claims alleged by plaintiff, an employee of the insured's

subcontractor, were not covered pursuant to the exclusion); Evanston Ins. Co. v. A

& R Homes Dev., LLC, 2019 WL 661587, at *4 (N.J. Super. App. Div. Feb. 19,


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2019)(holding that exclusion clearly and unambiguously excluded coverage for

injury to the insured’s subcontractor’s employee); Terese v. 1500 Lorene, L.L.C.,

441 Fed. Appx. 273, 274 (5th Cir. 2011) (enforced exclusion for “bodily injury” to

any contractor, subcontractor or any agent or employee of a contractor or

subcontractor that is doing work on or at, or is in any way involved with the

operations performed for you…”).

      Underlying Plaintiffs assert that Aparicio-Munoz “was working as a laborer

on a residential construction renovation/remodeling project” where Sea Light “was

responsible for the construction, development, and management of the aforesaid

renovation/remodeling project.” (D.I. 1-1, ⁋⁋ 3, 4.) Underlying Plaintiffs allege

that Aparicio-Munoz was “performing his duties as a laborer installing window

frames on the residence … [when] he fell approximately 25 feet from an elevated

“box lift” to the ground.” (Id. at ⁋5.) Sea Light admits that it was the general

contractor for the Project. (Complaint, D.I. 1, ⁋9, Answer, D.I. 6, at ⁋9.) As

such, there can be no legitimate dispute that Aparicio-Munoz was “working on

behalf of any insured”, i.e., Sea Light, at the time of his alleged accident. The

Evanston Policy excludes coverage for claims arising out of bodily injury for Sea

Light’s employees, its contractors, subcontractors, their employees, volunteer

workers, leased workers or temporary workers, any additional contractors or

subcontractors of contractors or subcontractors of Sea Light, and “any other person


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who performs labor in any capacity … with or without any form of compensation”.

Aparicio-Munoz was performing the labor of window framing installation work at

the jobsite for the general contractor Sea Light. Therefore, under the clear and

unambiguous Evanston Policy, there is no coverage for Sea Light for the

Underlying Action.

      It is anticipated that Sea Light will argue that there remains a question of

fact as to whether Aparicio-Munoz and/or his employer or company was an

independent contractor of Sea Light.       (Answer, D.I. 6, Seventh Affirmative

Defense.) As the Delaware Court in Masonic Home found, supra, such arguments

are illogical and contrary to the plain language of the exclusion. The Evanston

Policy excludes from coverage the underlying “bodily injury” for the spectrum of

individuals identified in the exclusion - which undoubtedly includes Aparicio-

Munoz who self-identified as a person performing labor at the Project.

(Underlying Complaint, D.I. 1-1, ⁋5) Consequently, whether Aparicio-Munoz was

employed by Sea Light or was employed as a contractor or subcontractor or was an

employee of a contractor or subcontractor, or was performing labor in any other

capacity, Evanston does not have a duty to defend or indemnify Sea Light for the

Underlying Action. (D.I. 1-2, 60-61.)

      As quoted above, the Evanston Policy excludes coverage to employees,

contractors, subcontractors, employees of contractors or subcontractors, volunteer


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workers, leased workers or temporary workers of contractors or subcontractors,

any additional contractors or subcontractors of Sea Light’s contractors or

subcontractors, and any other person who performs labor in any capacity for Sea

Light.     Indeed, the Employer’s Liability section of the exclusion expressly

precludes coverage – not only for injuries to the employees of Sea Light but also

“[a]ny other person who performs labor in any capacity for or on behalf of any

insured, with or without any form of compensation[.]”

         Further, Sea Light’s anticipated argument that Underlying Plaintiff Aparicio-

Munoz may be an “independent contractor” at the jobsite is a red herring because

the resolution of whether Aparicio-Munoz is an independent contractor does not

change whether coverage is owed for the Underlying Action. Coverage is not

owed.      Specifically, the degree of control which Sea Light exercised over

Aparicio-Munoz with respect to how he installed the window frames is simply

unrelated to whether Aparicio-Munoz performed work in any capacity for Sea

Light at Sea Light’s jobsite when he was injured because the Evanston Policy’s

exclusion is not limited to bodily injury to employees of Sea Light. See e.g.,

Cincinnati Specialty Underwriters Ins. Co. v. Juan Francisco Chajon, 2017 WL

3233045, at *5 (N.D. Tex. July 31, 2017)(court examined whether the injured

plaintiff was an independent contractor where the policy’s exclusion excluded

coverage for bodily injury to the insured’s “employee”). As discussed above, the


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exclusion in the Evanston Policy is not so limited to employees, but broadly

applies to all contractors and subcontractors. The inquiry of whether the exclusion

applies depends on whether Aparicio-Munoz was an employee, contractor,

subcontractor, a contractor or subcontractor’s employee, volunteer worker, leased

worker or temporary worker, a contractor or subcontractor of Sea Light’s

contractor or subcontractor, or any other person who performs labor in any

capacity with or without any form of compensation.          It is undisputed that

Underlying Plaintiffs alleged that Aparicio-Munoz was performing window

framing installation “on behalf of” the named insured, Sea Light, who was the

general contractor of the jobsite. Therefore, the exclusion applies and coverage is

not available under the Evanston Policy as Aparicio-Munoz was undoubtedly

working on behalf of Evanston’s insured Sea Light.



                                 CONCLUSION

      For the above reasons, Evanston is entitled to a declaration that it has no

duty to defend Sea Light in connection with the Underlying Action. Further,

because Evanston has no duty to defend Sea Light in connection with the

Underlying Action, Evanston is entitled to a declaration that it has no duty to

indemnify Sea Light in connection with the Underlying Action.

      Accordingly, Evanston respectfully moves that this Honorable Court enter


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judgment in its favor and that the Court enter Evanston’s proposed Order.

                                               Respectfully submitted,

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Dated: April 7, 2021




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          CERTIFICATION PURSUANT TO STANDING ORDER

      Undersigned counsel for Plaintiff, Evanston Insurance Company, hereby

certifies, pursuant to the Court’s Standing Order Regarding Briefing In All Cases

as follows: the foregoing Brief does not exceed the 5000 word limit and does not

exceed the 20 page limit; the total number of words is 4322; and the foregoing

Brief is typed in Times New Roman, 14-point font which complies with the type,

font, and word limitations set forth in the Court’s Standing Order.

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